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                               THE OFFICE OF VINCE RYAN
                                  COUNTY ATTORNEY


                                           July 20, 2018

Via electronic filing
The Honorable Chief Judge Lee H. Rosenthal
515 Rusk, Room 11353
Houston, Texas 77002

Re:    Cause No. 4:16-CV-01414; Maranda Lynn Odonnell v. Harris County, Texas, et al; In the
       United States District Court for the Southern District of Texas, Houston Division.

Dear Chief Judge Rosenthal:

        We write in compliance with your Minute Entry of July 17, 2018, requesting status
reports from the defendants. We previously advised the Court that the Sheriff has not agreed to
the written proposal being circulated among the defendants. While that is still the case, we wish
to provide the Court with a few additional comments on behalf of the Sheriff.

        There are many aspects of the current injunction order that are outside the Sheriff’s
bailiwick, and he therefore leaves those aspects to others. He has three main desires: (1) the law
requires that wealth-based detention be replaced with a wealth-neutral system, as the Court has
already done, (2) public safety requires that an exception be made for “revolving door” arrestees,
and (3) common sense requires the litigation come to an end. He believes all three requirements
can be met.

        It is unlikely that all defendants will agree on a specific settlement proposal.
Nevertheless, it seems there is renewed interest in trying to get the case resolved, and the Sheriff
joined in the motion for mediation because he hopes the parties can work on an agreed
injunction. The Sheriff has confidence that this Court will not permit any mediation process to
delay the effort to get this matter to a final hearing if no agreement can be reached. Therefore, if
it can be done in a timely manner, the Sheriff is prepared to participate in a mediation.
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                                     Very truly yours,

                                     /s/ Victoria Jimenez _____________
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